Case 2:24-cr-00105-WBV-JVM                      Document 298-14         Filed 05/19/25         Page 1 of 1


From:             Sean
To:                            ;           ;
Subject:          Fwd:
Date:             Tuesday, August 8, 2017 12:18:28 PM
Attachments:                statement.pdf
                  referral.pdf
                  office note.pdf


Good Morning:

        , I think we should start the process of funding this case now. This case is going to be surgical and
its a good one.                      at the King Firm is the associate on it and he sent it to me. We can do
the office visits, etc and get the approval with the underwriting with          prior to this being set for
surgery. Let me know.

Sean


-----Original Message-----
From:                      <                            >
To: Sean <lawqb@aol.com>
Sent: Mon, Aug 7, 2017 9:49 pm
Subject:

See the attached referral, office note and statement.

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                    . Practice Administrator




Email:




                                                                                                 GOVERNMENT
                                                                                                   EXHIBIT

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